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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

CASE NO. 13-cr-00473-RM-1

UNITED STATES OF AMERICA,

                Plaintiff,

v.

1.      GARY SNISKY,

            Defendant.
_____________________________________________________________________________

UNOPPOSED MOTION FOR EXTENSION OF TIME WITHIN WHICH TO PROVIDE
            NOTICE OF INTENT TO PRESENT EXPERT TESTIMONY
_____________________________________________________________________________

        The defendant, Gary Snisky, by and through his counsel, Assistant Federal Public

Defender Robert W. Pepin, moves for extension of time until October 27, 2014 within which to

provide notice of intent to present expert testimony at the trial in this case. This request is

unopposed.

        This Court has ordered that the defense is to disclose its experts, should it intend to

present expert testimony, by October 13, 2014. The defense continues to investigate and discuss

this case, and various aspects of the case, with potential witnesses and will need an additional

two weeks to decide if it intends to present expert testimony at trial.

        Counsel has exchanged messages concerning this request with AUSA Pegeen Rhyne who

says that she does not object to this extension.

        Wherefore, Gary Snisky moves for extension of time until October 27, 2014 within which

to provide notice of intent to present expert testimony at the trial in this case.
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                                  Respectfully submitted,

                                  VIRGINIA GRADY
                                  Federal Public Defender



                                  s/ Robert W. Pepin
                                  ROBERT W. PEPIN
                                  Assistant Federal Public Defender
                                  633 - 17th Street, Suite 1000
                                  Denver, Colorado 80202
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                                  Robert_Pepin@fd.org
                                  Attorney for Defendant




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 10, 2014, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system which will send notification of such filing to the
following e-mail addresses:

       Pegeen Rhyne, Assistant U.S. Attorney
       Email: pegeen.rhyne@usdoj.gov

and I hereby certify that I have mailed or served the document or paper to the following non
CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-participant’s
name:

       Gary Snisky
       (U.S. Mail)




                                              s/ Robert W. Pepin
                                              ROBERT W. PEPIN
                                              Assistant Federal Public Defender
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                                              Denver, Colorado 80202
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                                              Attorney for Defendant




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